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                        UNITED STATES DISTRICT COURT
                         MIDDLE DlSTRICT OF FLORIDA
                               TAMPA DIVISON

I.,NITED STATES OF AMERICA.
                                               Case No. 8:21-cr-348-SCB-SPF
        Plaintiff, tr
        Government E

                                                         tr    Evidentiary
                                                         tr    Trial
                                                         E    Other




JEREMY BROWN

        Defendant E

                          AMENDED EXHIBIT LIST


Exhibit Number   Date Identified    Date Admitted          Witness            Description of
                                                                                 Exhibit
I                                                                            Photo:
                                                                             Whiteboard sign
2a-e                                                                         Photos:
                                                                             Composites of
                                                                             arresting agents
3a                                                                           Video: Cell
                                                                             phone footage of
                                                                             arrest
3b                                                                           Audio: Recorded
                                                                             call between Mr.
                                                                             Brown and FBI




                               CE    IFICATE OF SERVICE

       I HEREBY CERTIFY    that a true and correct copy of the foregoing has been furnished
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by electronic filing using CM/ECF system to Risha Asokan, United States Attorney's Office,
this 17th day of December 2021.


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                                          /s/ William F. Sansone. Esouire
                                          Florida Bar No. 781231
